  Case 5:12-cv-05209-JLH Document 4               Filed 11/16/12 Page 1 of 2 PageID #: 18



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF ARKANSAS
                             FAYETTEVILLE DIVISION

JESSE HENSON,                                 )
                                              )
                      Plaintiff,              )       5:12-cv-05209-JLH
                                              )
       v.                                     )       Judge Hendren
                                              )
FULL SPECTRUM LITIGATION                      )
COMPANY, LLC.,                                )
                                              )
                      Defendant.              )

       NOTICE OF SETTLEMENT AND REQUEST TO STAY ALL DEADLINES

       Plaintiff, JESSE HENSON, hereby respectfully apprises this Honorable Court that the

parties have negotiated a settlement of the above-captioned matter. Plaintiff further states as

follows:

       1.      The parties have reached a settlement accord and are currently in the process of

preparing formal documents necessary to memorialize the pertinent terms and conditions of the

parties’ settlement agreement.

       2.      Given the imminence of the parties’ finalizing the terms of the settlement

agreement, Plaintiff respectfully requests a stay of all deadlines and further requests that the

parties be excused from any appearances and any obligations for court filings.

       3.      The parties shall file a stipulation of dismissal with prejudice forthwith.

                                                              Respectfully submitted,
                                                              JESSE HENSON

                                                       By:     s/ David M. Marco
                                                               Attorney for Plaintiff

   Dated: November 16, 2012
Case 5:12-cv-05209-JLH Document 4        Filed 11/16/12 Page 2 of 2 PageID #: 19



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